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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                       Case No. 10-CR-20705

 FATIMA HOUSSEIN TOUFAILI,

            Defendant.
 _________________________/

                            ORDER STRIKING PRO SE MOTION

        Before the court is a motion to reconsider the sentencing and withdraw the plea

 agreement, filed pro se by Fatima Houssein Toufaili. The court will strike the motion

 because, at the time of the filing, Defendant was represented by counsel. Thus, all

 filings must be made by the attorney of record.

        Defendant is not entitled to represent herself while simultaneously represented

 by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

 protected both by the Sixth Amendment to the United States Constitution and by federal

 statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

 and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

 California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

 (5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2nd Cir. 1977); United States

 v. Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

 party may chose either to represent herself or to appear through an attorney. There is

 no right to “hybrid” representation that would result in simultaneous or alternating self-
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 representation and representation by counsel. A person represented by counsel must

 rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

 Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

 123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

 Phila., 89 F.R.D. 521, 523 n.1 (E.D.Pa.1981); United States ex rel. Snyder v. Mack, 372

 F.Supp. 1077, 1078-79 (E.D.Pa.1974); cf. Storseth v. Spellman, 654 F.2d 1349,

 1352-53 (9th Cir. 1981) (once counsel is appointed, prisoner has no right to assistance

 from inmate writer). In light of this case law, the court will only accept motions filed by

 Defendant’s attorney of record.

            IT IS ORDERED that Defendant Toufaili’s February 8, 2013 motion [Dkt. # 595]

 is hereby STRICKEN from the docket of this court.


                                                                      S/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE
 Dated: February 19, 2013


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, February 19, 2013, by electronic and/or ordinary mail.

                                                                      S/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




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